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From:                  Matthew Ng
Sent:                  Friday, December 11, 2015 3:41 AM UTC
To:                    Bob Cook; Alex Choi; Ben Lo
Subject:               RE: URGENT



Bob,

Ben, Alex and I had a quick discussion and concluded as below as recap and update you;-

   Do not take the order from NAB re Swiper as BBPOS is not well prepared for it
   Alex will reply below formal email from ING and bring me in as formal contact point, details
  can refer to Alex reply email to be sent out
   We will need to plan for cooperation strategy with Roam in short term and long term
  WISELY

Regards,

Matthew IMG

Finance Director
BBPOS Group
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8 Yeung Uk Road, Tsuen Wan
New Territory
Hong Kong
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F: +852 3158 2586
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From: Bob Cook
Sent: Friday, December 11, 2015 10:52 AM
To: Matthew Ng <matthew.ng@bbpos.com>; Alex Choi <alexchoi@bbpos.com>; Ben Lo
<ben.lo@bbpos.com>
Subject: Re: URGENT

I can join now




From: Matthew Ng
Sent: Thursday, December 10, 2015 6:51 PM
To: Bob Cook; Alex Choi; Ben Lo
Subject: RE: URGENT


Ben,




                                                                                                       EXHIBIT
                                                                                                 BBI
                                                                                                         86
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I am OK at or after 11am China time. Aiex and Bob are ready. Can you join?

Regards,

Matthew NG

Finance Director
BBPOS Group
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From: Bob Cook
Sent: Friday, December 11, 2015 10:14 AM
To: Alex Choi <alexchoi@bbpos.com>; Ben Lo <ben.lo@bbpos.com>; Matthew Ng
<ma tthew.ng@bbpos.com>
Subject: Re: URGENT

Alex, I am available now, can we have a call or skype.



From: Alex Choi
Sent: Thursday, December 10, 2015 4:54 PM
To: Bob Cook; Ben Lo; Matthew Ng
Subject: FW: URGENT

Dear all,


Can we have a meeting on this as soon as you are back in the office.

Regards,


Alex Choi YW


Chief Executive Officer
BBPOS Group
Suite 1602, Tower 2, Nina Tower
8 Yeung Uk Road, Tsuen Wan
New Territory
Hong Kong




                                                                             BBPOS 0000071
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From: David SZCZEPANSKI [mailto:David.SZCZEPANSKI@ingenico.com1
Sent: Thursday, 10 December 2015 11:49 PM
To: Bob Cook <bob.cook@bbpos.com>
Cc: Ben Lo <ben.la@bbpos.com>; Thierry DENIS <Thierry.DENIS@ingenico.com>;
Cdismukes@roamdata.com; Alex Choi <alexchoi@bbpos.com>
Subject: URGENT


Dear Bob,

This Email will confirm the conversation you had earlier yesterday with Chris

You indicated that (a) BBPOS has accepted an order for ROAM-type MSR devices directly from ROAM
Data’s longtime client, North American Bancard, LLC (“NAB”), and (b) BBPOS and NAB have openly
discussed NAB’s cancellation of an order for MSR devices that NAB recently placed with ROAM Data that
is scheduled to be fulfilled by BBPOS prior to year end. NAB has separately contacted ROAM Data to
cancel its PO with ROAM Data for such devices, and BBPOS has specifically requested that ROAM Data
permit NAB to cancel that PO so that BBPOS can fulfill the order it received directly from NAB.

As you are well aware, ROAM Data has an exclusive license from BBPOS to sell MSR devices
manufactured by BBPOS pursuant to the May 4, 2010 Engineering Development and License Agreement
(as amended, the “BBPOS Agreement”).


To reiterate the points we made during our call, please be advised as follows:

1. BBPOS is hereby directed to cease and desist from interfering with ROAM Data’s contractual
   relationship with NAB or any other ROAM Data customers, including by inducing or encouraging NAB
   to terminate or cancel the PO that NAB placed with ROAM Data

2. If BBPOS sells ROAM-type MSRs directly to NAB, then BBPOS will be in breach of the BBPOS
   Agreement, including, without limitation, the exclusivity provisions of the BBPOS Agreement and
    BBPOS’ covenants and undertakings not to (x) use or sell to third parties any of the products made
    by BBPOS for ROAM Data or any products similar to or based upon such products; and/or (y) grant
   any other person the right to use or sell any such products or any products similar to or based upon
   such products

3. If BBPOS breaches the BBPOS Agreement, then ROAM will consider availing itself of all legal
    remedies at its disposal, both under the BBPOS Agreement and at law, and ROAM Data will hold
    BBPOS accountable for all damages sustained by ROAM Data based upon or arising from BBPOS’
    breaches

ROAM Data and BBPOS have enjoyed a long and mutually beneficial commercial relationship, and
ROAM Data urges BBPOS to carefully consider the consequences of an intentional breach by BBPOS of
ROAM Data’s exclusivity rights under the BBPOS Agreement.




                                                                                                    BBPOS 0000072
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Please confirm by return e-mail that BBPOS will fulfill ROAM Data’s order for the MSRs destined for NAB
and that, consistent with the terms of our agreement, BBPOS will not sell MSRs directly or indirectly to
NAB, any other ROAM Data customers or any other third parties.


I look forward to your prompt response.

Best regards,
David



David SZCZEPANSKI
COO - Mobile Solutions


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